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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

                                        )
AMERICAN OVERSIGHT,                     )
1030 15th Street NW, B255               )
Washington, DC 20005                    )
                                        )
                             Plaintiff, )
                                        )
v.                                      )   Case No. 18-2840
                                        )
U.S. DEPARTMENT OF JUSTICE,             )
950 Pennsylvania Avenue, NW             )
Washington, DC 20530-0001               )
                                        )
EXECUTIVE OFFICE FOR IMMIGRATION        )
REVIEW,                                 )
5107 Leesburg Pike                      )
Falls Church, VA 22041                  )
                                        )
U.S. MARSHALS SERVICE                   )
CG-3, 15th Floor                        )
Washington, DC 20530                    )
                                        )
U.S. DEPARTMENT OF HEALTH AND           )
HUMAN SERVICES,                         )
200 Independence Avenue, SW             )
Washington, DC 20201                    )
                                        )
ADMINISTRATION FOR CHILDREN AND         )
FAMILIES,                               )
330 C Street, SW                        )
Washington, DC 20201                    )
                                        )
U.S. DEPARTMENT OF                      )
HOMELAND SECURITY,                      )
245 Murray Lane, SW                     )
Washington, DC 20528                    )
                                        )
U.S. CUSTOMS AND                        )
BORDER PROTECTION,                      )
1300 Pennsylvania Avenue, NW            )
Washington, DC 20229                    )
                                        )
                                        )
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U.S. IMMIGRATION AND CUSTOMS            )
ENFORCEMENT,                            )
500 12th Street, SW                     )
Washington, DC 20536                    )
                                        )
U.S. CITIZENSHIP AND IMMIGRATION        )
SERVICES,                               )
20 Massachusetts Avenue, NW             )
Washington, DC 20001                    )
                                        )
and                                     )
                                        )
OFFICE OF MANAGEMENT AND BUDGET, )
725 17th Street, NW                     )
Washington, DC 20503                    )
                                        )
                            Defendants. )
                                        )

                                         COMPLAINT

       1.     Plaintiff American Oversight brings this action against the U.S. Department of

Justice, the Executive Office for Immigration Review, the U.S. Marshals Service, the U.S.

Department of Health and Human Services, the Administration for Children and Families, the

U.S. Department of Homeland Security, the U.S. Customs and Border Protection, the U.S.

Immigration and Customs Enforcement, the U.S. Citizenship and Immigration Services, and

Office of Management and Budget under the Freedom of Information Act, 5 U.S.C. § 552

(FOIA), and the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, seeking declaratory

and injunctive relief to compel compliance with the requirements of FOIA.

                               JURISDICTION AND VENUE

       2.     This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B)

and 28 U.S.C. §§ 1331, 2201, and 2202.

       3.     Venue is proper in this district pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C.

§ 1391(e).



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       4.      Because Defendants have failed to comply with the applicable time-limit

provisions of the FOIA, American Oversight is deemed to have exhausted its administrative

remedies pursuant to 5 U.S.C. § 552(a)(6)(C)(i) and is now entitled to judicial action enjoining

the agency from continuing to withhold agency records and ordering the production of agency

records improperly withheld.

                                           PARTIES

       5.      Plaintiff American Oversight is a nonpartisan, non-profit section 501(c)(3)

organization primarily engaged in disseminating information to the public. American Oversight

is committed to the promotion of transparency in government, the education of the public about

government activities, and ensuring the accountability of government officials. Through research

and FOIA requests, American Oversight uses the information it gathers, and its analysis of it, to

educate the public about the activities and operations of the federal government through reports,

published analyses, press releases, and other media. The organization is incorporated under the

laws of the District of Columbia.

       6.      Defendant U.S. Department of Justice (DOJ) is a department of the executive

branch of the U.S. government headquartered in Washington, DC, and an agency of the federal

government within the meaning of 5 U.S.C. § 552(f)(1). DOJ has possession, custody, and

control of records that American Oversight seeks.

       7.      Defendant Executive Office for Immigration Review (EOIR) is a component of

DOJ and is headquartered in Falls Church, VA. EOIR has possession, custody, and control of

records that American Oversight seeks.




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       8.     Defendant United States Marshals Service (USMS) is a component of DOJ and is

also headquartered in Washington, DC. USMS has possession, custody, and control of records

that American Oversight seeks.

       9.     Defendant U.S. Department of Health and Human Services (HHS) is a department

of the executive branch of the U.S. government headquartered in Washington, DC, and an

agency of the federal government within the meaning of 5 U.S.C. § 552(f)(1). HHS has

possession, custody, and control of records that American Oversight seeks.

       10.    Defendant Administration for Children and Families (ACF) is a component of

HHS and is also headquartered in Washington, DC. ACF has possession, custody, and control of

records that American Oversight seeks.

       11.    Defendant U.S. Department of Homeland Security (DHS) is a department of the

executive branch of the U.S. government headquartered in Washington, DC, and an agency of

the federal government within the meaning of 5 U.S.C. § 552(f)(1). The DHS Privacy Office

(DHSHQ) coordinates FOIA requests for several DHS components, including U.S. Customs and

Border Protection (CBP), U.S. Immigration and Customs Enforcement (ICE), and U.S.

Citizenship and Immigration Services (USCIS). DHS has possession, custody, and control of

records that American Oversight seeks.

       12.    Defendant U.S. Customs and Border Protection (CBP) is a component of DHS

and is also headquartered in Washington, DC. CBP has possession, custody, and control of

records that American Oversight seeks.

       13.    Defendant U.S. Immigration and Customs Enforcement (ICE) is a component of

DHS and is also headquartered in Washington, DC. ICE has possession, custody, and control of

records that American Oversight seeks.




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       14.     Defendant U.S. Citizenship and Immigration Services (USCIS) is a component of

DHS and is also headquartered in Washington, DC. USCIS has possession, custody, and control

of records that American Oversight seeks.

       15.     Defendant Office of Management and Budget (OMB) is an office within the

Executive Office of the President of the United States, an agency of the federal government

within the meaning of 5 U.S.C. § 552(f)(1), and is headquartered in Washington, DC. OMB has

possession, custody, and control of records that American Oversight seeks.

                                   STATEMENT OF FACTS

                                        Cost Records FOIA

       16.     American Oversight has sought from HHS, ACF, DHS, CBP, ICE, EOIR, USMS,

OMB, and DOJ the following records (henceforth the “Cost Records”):

                    1. Records sufficient to identify total costs of crafting and implementing the
                       family separation policy for FY 2018 and FY 2019 (including funds
                       obligated for and reprogrammed to efforts related to the family separation
                       policy in FY 2018, as well as funds requested for FY 2019).

                    2. Records sufficient to identify the programs from which funds for housing
                       and reuniting children separated from their parents have been diverted, as
                       well as the amount of funding diverted from those programs.

American Oversight sought all responsive records from January 20, 2017 through the date of the

search, and specified the search should include all locations and individuals likely to contain

responsive records, including at least past and current individuals working within the Office of

Legislative Affairs, the Judicial Management Division, and the Executive Office for United

States Attorneys.

       17.     On October 2, 2018, American Oversight submitted a FOIA request to HHS,

ACF, DHS, CBP, ICE, EOIR, USMS, and OMB for the Cost Records to be produced within




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twenty business days. A copy of this October 2, 2018 FOIA request is attached hereto as Exhibit

A and incorporated herein.

          18.   DHS assigned the request tracking number 2019-HQFO-0010.

          19.   DHS issued its final determination by letter dated October 18, 2018, stating that it

was unable to locate or identify any responsive records.

          20.   American Oversight filed a timely appeal on October 23, 2018, challenging the

adequacy of the agency’s search.

          21.   DHS assigned American Oversight’s appeal tracking number 2019-HQAP-0027.

          22.   ICE assigned the request reference number 2019-ICFO-10805.

          23.   EOIR assigned the request control number 2019-820.

          24.   HHS, ACF, CBP, USMS, and OMB did not return FOIA request

acknowledgements.

          25.   On October 12, 2018, American Oversight submitted a FOIA request to DOJ’s

Office of Information Policy for the Cost Records to be produced within twenty business days. A

copy of this October 12, 2018 FOIA request is attached hereto as Exhibit B and incorporated

herein.

          26.   DOJ’s Office of Information Policy assigned the request tracking number 2019-

000227 and forwarded the request to DOJ’s Justice Management Division, which assigned the

request tracking number 115120.

                                    Cost Communications FOIA

          27.   American Oversight has sought from HHS, ACF, DHS, CBP, ICE, USCIS,

USMS, OMB, and DOJ the following records (henceforth the “Cost Communications”):

                   1. All records reflecting communications of political appointees* (including
                      emails, email attachments, text messages, voicemail transcripts, messages



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                      on messaging platforms—such as Slack, GChat or Google Hangouts,
                      Lync, Skype, WhatsApp, Facebook messaging, Twitter Direct Messages,
                      or Signal—calendar invitations, calendar entries, meeting notices, meeting
                      agendas, informational material, draft legislation, talking points, any
                      handwritten or electronic notes taken during any oral communications,
                      summaries of any oral communications, or other materials) regarding the
                      cost of the family separation policy, including:

                          a. the availability or unavailability of budgeted, obligated, or
                             appropriated funds;
                          b. any evaluation, assessment, or analysis of currently available
                             appropriations that could be used to fund implementation of the
                             family separation policy; and
                          c. constraints on planning for funding of the family separation policy.

                   2. All records reflecting communications of political appointees* (including
                      emails, email attachments, text messages, voicemail transcripts, messages
                      on messaging platforms—such as Slack, GChat or Google Hangouts,
                      Lync, Skype, WhatsApp, Facebook messaging, Twitter Direct Messages,
                      or Signal—calendar invitations, calendar entries, meeting notices, meeting
                      agendas, informational material, draft legislation, talking points, any
                      handwritten or electronic notes taken during any oral communications,
                      summaries of any oral communications, or other materials) concerning the
                      appropriations, budgeting requests, and costs involved with the
                      implementation of the family separation policy between such political
                      appointees and Congress, including congressional committees or staff.
                      Responsive documents should include emails on which such political
                      appointees and/or Congress were only copied (cc) or blind copied (bcc).

                      *“Political appointee” should be understood as any person who is a
                      Presidential Appointee with Senate Confirmation (PAS), a Presidential
                      Appointee (PA), a noncareer SES, any Schedule C employees, or any
                      persons hired under Temporary Non-Career SES Appointments, Limited
                      Term SES Appointments, or Temporary Transitional Schedule C
                      Appointments.

American Oversight sought all responsive records from January 20, 2017 through the date of the

search.

          28.   On October 2, 2018, American Oversight submitted a FOIA request to HHS,

ACF, CBP, DHS, ICE, USCIS, USMS, and OMB for the Cost Communications to be produced




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within twenty business days. A copy of this October 2, 2018 FOIA request is attached hereto as

Exhibit C and incorporated herein.

          29.   DHS assigned the request tracking number 2019-HQFO-00011.

          30.   CBP assigned the request tracking number CBP-OIT-2019-000948.

          31.   ICE assigned the request reference number 2019-ICFO-10816.

          32.   USCIS assigned the request tracking number COW2018001163.

          33.   HHS, ACF, USMS, and OMB did not return FOIA request acknowledgements.

          34.   On October 12, 2018, American Oversight submitted a FOIA request that DOJ’s

Office of Information Policy produce, within twenty business days, the Cost Communications in

addition to:

                   3. All records reflecting communications (including emails, email
                      attachments, text messages, voicemail transcripts, messages on messaging
                      platforms—such as Slack, GChat or Google Hangouts, Lync, Skype,
                      WhatsApp, Facebook messaging, Twitter Direct Messages, or Signal—
                      calendar invitations, calendar entries, meeting notices, meeting agendas,
                      informational material, draft legislation, talking points, any handwritten or
                      electronic notes taken during any oral communications, summaries of any
                      oral communications, or other materials) between (1) anyone in the Office
                      of Legislative Affairs (OLA) or the Justice Management Division (JMD)
                      and (2) anyone in the Executive Office for United States Attorneys
                      (EOUSA):

                                  a. concerning the appropriations, budgeting requests, and
                                     costs involved with the implementation of the family
                                     separation policy; or

                                  b. indicating identification of required resources and requests
                                     for additional resources required for implementing the
                                     zero-tolerance policy.

A copy of this October 12, 2018 FOIA request is attached hereto as Exhibit D and incorporated

herein.




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       32.     DOJ responded on November 1, 2018 claiming “unusual circumstances” to

extend the time limit to respond.

       33.     On October 26, 2018, American Oversight submitted a FOIA request to EOIR for

the Cost Communications to be produced within twenty business days. A copy of this October

26, 2018 FOIA request is attached hereto as Exhibit E and incorporated herein.

       34.     EOIR assigned the request control number 2019-4414.

                             Exhaustion of Administrative Remedies

       35.     As of the date of this Complaint, Defendants HHS, ACF, CBP, ICE, USCIS, DOJ,

USMS, EOIR, and OMB have failed to (a) notify American Oversight of any determination

regarding American Oversight’s FOIA requests, including the full scope of any responsive

records the agency intends to produce or withhold and the reasons for any withholdings; or (b)

produce all of the requested records or demonstrate that the requested records are lawfully

exempt from production.

       36.     Through the failure of HHS, ACF, CBP, ICE, USCIS, DOJ, USMS, EOIR, and

OMB to make determinations as to American Oversight’s FOIA requests within the time period

required by law, American Oversight has constructively exhausted its administrative remedies

and seeks immediate judicial review.

       37.     Through DHS’s failure to make a determination regarding American Oversight’s

appeal within the time period required by law, American Oversight has constructively exhausted

its administrative remedies and seeks immediate judicial review.

                                          COUNT I
                              Violation of FOIA, 5 U.S.C. § 552
                     Failure to Conduct Adequate Searches for Records

       34.     American Oversight repeats the allegations in the foregoing paragraphs and

incorporates them as though fully set forth herein.


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        35.    American Oversight properly requested records within the possession, custody,

and control of the Defendants.

        36.    Defendants are agencies and a component thereof subject to FOIA and must

therefore make reasonable efforts to search for requested records.

        37.    Defendants have failed to promptly review agency records for the purpose of

locating those records which are responsive to American Oversight’s requests.

        38.    Defendants’ failure to conduct adequate searches for responsive records violates

FOIA.

        39.    Plaintiff American Oversight is therefore entitled to injunctive and declaratory

relief requiring Defendants to promptly make reasonable efforts to search for records responsive

to American Oversight’s FOIA requests.

                                       COUNT II
                            Violation of FOIA, 5 U.S.C. § 552
                       Wrongful Withholding of Non-Exempt Records

        40.    American Oversight repeats the allegations in the foregoing paragraphs and

incorporates them as though fully set forth herein.

        41.    American Oversight properly requested records within the possession, custody,

and control of the Defendants.

        42.    Defendants are agencies and a component thereof subject to FOIA and must

therefore release in response to FOIA requests any non-exempt records and provide a lawful

reason for withholding any materials.

        43.    Defendants are wrongfully withholding non-exempt agency records requested by

American Oversight by failing to produce non-exempt records responsive to its FOIA requests.




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       44.      Defendants are wrongfully withholding non-exempt agency records requested by

American Oversight by failing to segregate exempt information in otherwise non-exempt records

responsive to American Oversight’s FOIA requests.

       45.      Defendants’ failure to provide all non-exempt responsive records violates FOIA.

       46.      Plaintiff American Oversight is therefore entitled to injunctive and declaratory

relief requiring Defendants to promptly produce all non-exempt records responsive to its FOIA

requests and provide indexes justifying the withholding of any responsive records withheld under

claim of exemption.

                                      REQUESTED RELIEF

WHEREFORE, American Oversight respectfully requests the Court to:

       (1) Order Defendants to conduct searches reasonably calculated to uncover all records

             responsive to American Oversight’s FOIA requests identified in this Complaint;

       (2) Order Defendants to produce, within twenty days of the Court’s order, by such other

             date as the Court deems appropriate, any and all non-exempt records responsive to

             American Oversight’s FOIA requests and indexes justifying the withholding of any

             responsive records withheld under claim of exemption;

       (3) Enjoin Defendants from continuing to withhold any and all non-exempt records

             responsive to American Oversight’s FOIA requests;

       (4) Award American Oversight attorneys’ fees and other litigation costs reasonably

             incurred in this action, pursuant to 5 U.S.C. § 552(a)(4)(E); and

       (5) Grant American Oversight such other relief as the Court deems just and proper.




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Dated: December 4, 2018                   Respectfully submitted,

                                          /s/ Joseph F. Yenouskas
                                          Joseph F. Yenouskas (D.C. Bar No. 414539)
                                          GOODWIN PROCTER LLP
                                          901 New York Avenue, NW
                                          Washington, DC 20001
                                          (202) 346-4143
                                          JYenouskas@goodwinlaw.com

                                          /s/ Glenn S. Kerner
                                          Glenn S. Kerner (pro hac vice pending)
                                          GOODWIN PROCTER LLP
                                          The New York Times Building
                                          620 Eighth Avenue
                                          New York, NY 10018
                                          (212) 813-8800
                                          GKerner@goodwinlaw.com

                                          /s/ Austin R. Evers
                                          Austin R. Evers (D.C. Bar No. 1006999)
                                          AMERICAN OVERSIGHT
                                          1030 15th Street NW, B255
                                          Washington, DC 20005
                                          (202) 869-5245
                                          austin.evers@americanoversight.org

                                          Counsel for Plaintiff American Oversight




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